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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION


Mark McGriff, Board of Trustees Chairman, and         )
Doug Curts, Board of Trustees Secretary, on behalf of )
INDIANA CARPENTERS PENSION FUND;                      )
                                                      )
Mark McGriff, Board of Trustees Chairman, and         )
Greg Hauswald, Board of Trustees Secretary on behalf )
INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL )
OF CARPENTERS DEFINED CONTRIBUTION                    )
PENSION TRUST FUND;                                   )
                                                      )
Mark McGriff, Board of Trustees Co-Chairman, and      )
William Nix, Board of Trustees Co-Chairman, on behalf )
of INDIANA/KENTUCKY/OHIO REGIONAL                     )
COUNCIL OF CARPENTERS WELFARE FUND;                   )
                                                      )
Mark McGriff, Board of Trustees Chairman, and         )
Joe Coar, Board of Trustees Secretary, on behalf of   )
INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL )
OF CARPENTERS JOINT APPRENTICESHIP AND )
TRAINING FUND;                                        )
                                                      )
Douglas J. McCarron, Board of Trustees Chairman,      ) CASE NO. 1:18-cv-1974
on behalf of UNITED BROTHERHOOD OF                    )
CARPENTERS APPRENTICESHIP TRAINING FUND )
OF NORTH AMERICA;                                     )
                                                      )
and,                                                  )
                                                      )
INDIANA/KENTUCKY/OHIO REGIONAL                        )
COUNCIL OF CARPENTERS,                                )
                                                      )
                            Plaintiffs,               )
vs.                                                   )
                                                      )
WEDDLE BROS. CONSTRUCTION CO., INC.                   )
and LEE E. CARMICHAEL,                                )
                                                      )
                            Defendants.               )
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                                      COMPLAINT

       Plaintiffs Mark McGriff, Board of Trustees Chairman, and Doug Curts, Board of

Trustees Secretary, on behalf of INDIANA CARPENTERS PENSION FUND; Mark

McGriff, Board of Trustees Chairman, and Greg Hauswald, Board of Trustees Secretary on

behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS

DEFINED CONTRIBUTION PENSION TRUST FUND; Mark McGriff, Board of Trustees

Co-Chairman, and William Nix, Board of Trustees Co-Chairman, on behalf of

INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS WELFARE

FUND; Mark McGriff, Board of Trustees Chairman, and Joe Coar, Board of Trustees

Secretary, on behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF

CARPENTERS JOINT APPRENTICESHIP AND TRAINING FUND; Douglas J.

McCarron, Board of Trustees Chairman, on behalf of UNITED BROTHERHOOD OF

CARPENTERS APPRENTICESHIP TRAINING FUND OF NORTH AMERICA; and,

INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS, by their

attorneys, PAUL T. BERKOWITZ & ASSOCIATES, LTD., complain of Defendants

WEDDLE BROS. CONSTRUCTION CO., INC. and LEE E. CARMICHAEL stating as

follows:



                                         COUNT I

       1.    This action arises under and jurisdiction resides with this Court pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §1001, et seq.,

("ERISA") and more particularly under Sections 502 and 515 of ERISA, 29 U.S.C. §1132 and

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§1145, and is brought by Plaintiffs Mark McGriff, Board of Trustees Chairman, and Doug

Curts, Board of Trustees Secretary, on behalf of INDIANA CARPENTERS PENSION

FUND; Mark McGriff, Board of Trustees Chairman, and Greg Hauswald, Board of Trustees

Secretary on behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF

CARPENTERS DEFINED CONTRIBUTION PENSION TRUST FUND; Mark McGriff,

Board of Trustees Co-Chairman, and William Nix, Board of Trustees Co-Chairman, on

behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF CARPENTERS

WELFARE FUND; Mark McGriff, Board of Trustees Chairman, and Joe Coar, Board of

Trustees Secretary, on behalf of INDIANA/KENTUCKY/OHIO REGIONAL COUNCIL OF

CARPENTERS JOINT APPRENTICESHIP AND TRAINING FUND; Douglas J.

McCarron, Board of Trustees Chairman, on behalf of UNITED BROTHERHOOD OF

CARPENTERS          APPRENTICESHIP TRAINING                    FUND      OF NORTH           AMERICA

(collectively referred to as the “Trust Funds”) in order to judicially enforce the obligations owed,

and breached, by Defendant WEDDLE BROS. CONSTRUCTION CO., INC. (“Weddle Bros.”)

to the Plaintiffs Trust Funds. More specifically, Plaintiffs Trust Funds seek an order compelling

Defendant Weddle Bros. to pay the delinquent contributions now known due for the period of

January 1, 2014 to December 31, 2016 to the Plaintiffs Trust Funds. Plaintiffs Trust Funds also

seek an order directing Weddle Bros. to pay liquidated damages and interest on the delinquent

contributions, plus attorneys' fees and costs incurred by Plaintiffs as a result of being forced to bring

this action.

        2.      Plaintiffs Trust Funds are employee benefit funds within the meaning of and subject

to ERISA. The Plaintiffs Trust Funds provide benefits for employees working within this judicial

district and are, themselves, administered in this judicial district, with the exception of UBCATF.

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         3.      At all times materials herein, Defendant Weddle Bros. has employed employees

within this judicial district.

         4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and 28 U.S.C. §

1391(b)(2).

         5.      At all times material herein, Defendant Weddle Bros. has been a signatory to a

collective bargaining agreement with the Indiana/Kentucky/Ohio Regional Council of Carpenters

("Union") and, as such, is bound by the Plaintiffs Trust Funds' Agreements and Declarations of

Trust ("Trust Agreements").

         6.      Defendant Weddle Bros. breached the Agreements identified in Paragraph 4 of this

Count and is in violation of Sections 502 and 515 of ERISA (and 29 U.S.C. § 185) by failing to pay

the delinquent contributions and contractually required interest and liquidated damages now known

due for the period of January 1, 2014 to December 31, 2016 to the Plaintiffs Trust Funds.

         7.      Despite Plaintiffs Trust Funds' requests, Defendant Weddle Bros. has failed to pay

the contractually and statutorily required monies.

         8.      Plaintiffs Trust Funds have satisfied all statutory prerequisites as set forth in 29

U.S.C. §1132 (h).

         WHEREFORE, Plaintiffs Trust Funds pray this Court order that:

         1.      Defendant Weddle Bros. to pay the delinquent contributions, plus interest and

liquidated damages for the period of January 1, 2014 to December 31, 2016 owed to Plaintiffs Trust

Funds;

         2.      Defendant Weddle Bros. pay statutory post-judgment interest on all principal

contributions found due by this Order;




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        3.      Defendant Weddle Bros. pay Plaintiffs Trust Funds' attorneys' fees and costs

incurred herein; and,

        4.      Such other and further relief that this Court may find just and proper be entered

against Defendant Weddle Bros.



                                             COUNT II

        1.      Plaintiff    INDIANA/KENTUCKY/OHIO              REGIONAL          COUNCIL        OF

CARPENTERS ("Union") is a labor organization whose duly authorized officers or agents are

engaged in representing or acting for employee members within this judicial district.

        2.      At all times material herein, Defendant WEDDLE BROS. CONSTRUCTION

CO., INC. (“Weddle Bros.”) has been engaged in an industry affecting interstate commerce and

employs individuals working within this judicial district.

        3.      This Court has jurisdiction of this action pursuant to Section 301 of the Labor-

Management Relations Act, 1947, as amended, 29 U.S.C. §185 (“LMRA”).

        4.      Venue is appropriate in this Judicial District because Defendant resides within this

Judicial District and a substantial part of the events or omissions giving rise to the claim occurred

within this Judicial District.

        5.      At all times material herein, Defendant Weddle Bros. has been signatory to a

collective bargaining agreement with the Union. Included among the contractual obligations

between the parties is the requirement that Weddle Bros. make payroll deductions to the Union.

        6.      Defendant Weddle Bros. breached its contractual obligations to the Union by failing

to pay the delinquent deductions, plus interest and liquidated damages, owed thereon for the period

of January 1, 2014 to December 31, 2016.

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        7.      Despite the Union's request, Defendant Weddle Bros. has failed to pay the monies

identified in this Count.

        WHEREFORE, Plaintiff Union prays this Court order that:

        1.      Defendant Weddle Bros. pay the delinquent deductions, interest and liquidated

damages owed for the period of January 1, 2014 to December 31, 2016 to the Plaintiff Union;

        2.      Defendant Weddle Bros. pay statutory post-judgment interest on all principal

deductions found due by this Order;

        3.      Defendant Weddle Bros. pay Plaintiff Union's attorneys’ fees and costs incurred

herein; and,

        4.      Such other and further relief that this Court may find just and proper be entered

against Defendant Weddle Bros.



                                     COUNT III
                Common Law Tortious Conversion v. the Individual Defendant

        1.      Plaintiff   INDIANA/KENTUCKY/OHIO               REGIONAL         COUNCIL      OF

CARPENTERS ("Union") is a labor organization whose duly authorized officers or agents are

engaged in representing or acting for employee members within this judicial district.

        2.      At all times material herein, Defendant WEDDLE BROS. CONSTRUCTION

CO., INC. (“Weddle Bros.”) has been signatory to a collective bargaining agreement with the

Union, among the obligations created by the collective bargaining agreement was that Defendant

Weddle Bros. would make certain payroll deductions from its Union bargaining unit employees’

paychecks and transmit such monies to the Union’s designated depository.

        3.      The Defendant Weddle Bros. deducted the required payroll deductions from its

bargaining unit employees’ paychecks (for the period of January 1, 2014 to December 31, 2016),
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but failed to transmit all the monies to the designated depository as required by its collective

bargaining agreement.

        4.        Defendant Weddle Bros. breached its obligation to transfer said monies which it had

deducted from its bargaining unit employees' paychecks (for the period of January 1, 2014 to

December 31, 2016) to the designated depository by the due date for transfer at which time said

monies became the property of Plaintiff Union and its represented employees and to which Plaintiff

Union had an immediate, unqualified right to then possess resting on a superior claim of title.

        5.        By Weddle Bros. deducting monies from its bargaining unit employees’ paychecks

and not transmitting such money to the designated depository by the due date for transfer at which

time said monies became the property of Plaintiff Union and its represented employees and to

which Plaintiff Union had an immediate, unqualified right to then possess resting on a superior

claim of title.

        6.        At all times material herein, Defendant LEE E. CARMICHAEL (“Carmichael”),

has been the Chief Executive Officer, President and/or Owner of Defendant Weddle Bros.

        7.        In such capacity or capacities, Defendant Carmichael was responsible for Defendant

Weddle Bros.’s compliance with the obligations and duties set forth in the collective bargaining

agreement, including ensuring that all wages were properly paid, all deductions were properly made

and withheld, and that said monies were held only for the contractually permitted period of time,

and ultimately that said deducted monies were timely remitted with an accompanying monthly

report form to Plaintiff Union’s designated third party depository.

        8.        In such capacity or capacities, Defendant Carmichael made the decision not to

transmit the contractually and statutorily required payroll deductions from Defendant Weddle




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Bros.’s paychecks provided to bargaining unit employees for the period of January 1, 2014 to

December 31, 2016 to the Union’s designated depository.

        9.     The required payroll deductions were not transmitted to the depository by the date

required by the collective bargaining agreement but was instead withheld from Plaintiff Union

without authorization.

        10.    Defendant Carmichael, who was ultimately responsible for the decision to not

transmit the deductions, appropriated and exercised dominion over these deductions for

Carmichael’s and/or Weddle Bros.’s own use and benefit in exclusion and defiance of the rights

of the Union, and/or withheld these deductions in her possession under a claim and title

inconsistent with the Union's own and its representative capacity on behalf of Weddle Bros.’s

bargaining unit employees, thus leaving Defendant Carmichael, personally liable for the monies

which would have been paid to the contractually designated third party depository.

        11.    This Court has jurisdiction of this Count pursuant to 28 U.S.C. §1367.

        WHEREFORE, Plaintiff Union prays that this Court order that:

        1.     Defendant LEE E. CARMICHAEL pay the delinquent deductions, interest and

liquidated damages to the Plaintiff Union owed for the period of January 1, 2014 to December 31,

2016;

        2.     Defendant LEE E. CARMICHAEL pay statutory post-judgment interest on all

principal deductions as found due by this Order; and,

        3.     Defendant LEE E. CARMICHAEL pay Plaintiff Union's attorneys’ fees and costs

incurred herein; and,

        4.     Such other and further relief that this Court December find just and proper be

entered against Defendant LEE E. CARMICHAEL.

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                                        COUNT IV
    Conversion: Civil Cause of Action for Criminal Conversion Pursuant to I.C. 34-24-3-1

        1.      Plaintiff   INDIANA/KENTUCKY/OHIO                 REGIONAL         COUNCIL         OF

CARPENTERS ("Union") is a labor organization whose duly authorized officers or agents are

engaged in representing or acting for employee members within this judicial district.

        2.      At all times material herein, Defendant WEDDLE BROS. CONSTRUCTION

CO., INC. (“Weddle Bros.”) has been signatory to a Collective Bargaining Agreement with the

Union, among the obligations created by the collective bargaining agreement was that Weddle

Bros. would make certain payroll deductions from its Union bargaining unit employees’ paychecks

and transmit such monies to the Union’s designated depository.

        3.      The Defendant Weddle Bros. deducted the required payroll deductions from its

bargaining unit employees’ paychecks for the period of January 1, 2014 to December 31, 2016 but

failed to transmit all the monies to the designated depository as required by its collective bargaining

agreement.

        4.      Defendant Weddle Bros. breached its obligation to transfer said monies, which it

had deducted from its bargaining unit employees' paychecks, to the designated depository by the

due date for transfer at which time said monies became the property of Plaintiff Union and its

represented employees and to which Plaintiff Union had an immediate, unqualified right to then

possess resting on a superior claim of title.

        5.      At all times material herein, Defendant LEE E. CARMICHAEL (“Carmichael”),

has been the Chief Executive Officer, President and/or Owner of Defendant Weddle Bros.




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        6.      In such capacity or capacities, Defendant Carmichael made the decision not to

 transmit the contractually and statutorily required payroll deductions for the period of January 1,

 2014 to December 31, 2016 to the Union’s designated depository.

        7.      A civil action under the criminal conversion statute is permitted by Ind. Code

 § 34-24-3-1 (“Indiana's Civil Conversion Statute”), which provides that:

        "Offenses against property; recovery of damages, costs, and attorney's fee
           Sec. 1. If a person has an unpaid claim on a liability that is covered by IC 24-
        4.6-5 or suffers a pecuniary loss as a result of a violation of IC 35-43, IC 35-42-3-
        3, IC 35-42-3-4, or IC 35-45-9, the person may bring a civil action against the
        person who caused the loss for the following:

                (1)    An amount not to exceed three (3) times:

                       (A)     the actual damages of the person suffering the loss, in the
                               case of a liability that is not covered by IC 24-4.6-5; or ….

                (2)    The costs of the action.

                (3)    A reasonable attorney’s fee. . . . .

                (7)    All other reasonable costs of collection.”

        8.      Pursuant to Indiana's Civil Conversion Statute, the amounts deducted from the

 employees' checks are not just a simple debt, but constitute a specific chattel, determined by the

 precise amounts agreed to with the Union for deductions, that Defendant Weddle Bros., was

 entrusted to apply to the specific purpose of paying the Union's designated depository on behalf

 of the employees from whose checks the deductions were taken.

        9.      As such, the deliberate and intentional non-payment/withholding and failure to

 pay over of the deductions to Plaintiff Union and its designated depository beyond the date(s)

 certain on which they were to be transferred constitutes a wrongful taking and conversion of the

 dues monies.



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         10.     Pursuant to IC 35-43-4-3 (a), "a person who knowingly or intentionally exerts

 unauthorized control over property of another person commits criminal conversion, a Class A

 misdemeanor.”

         11.     Defendant Carmichael knew these deductions from the employees' paychecks were

 to be paid over to Plaintiff Union or its designated depository by a specific date each month, but

 withheld the deducted monies from Plaintiff Union beyond the date(s) certain on which they

 were to be delivered and used the deductions for his own or the company's own purposes.

         12.     Defendant Carmichael thereby knowingly and intentionally exerted unauthorized

 control over the management and disposition of all monies deducted from the paychecks of Plaintiff

 Union’s bargaining unit members employed by Defendant Carmichael.

         13.     Plaintiff Union and its represented bargaining unit employees suffered a pecuniary

 loss as a result of Defendant's violation.

         14.     Because the civil conversion statute applies to the amounts owed Plaintiff Union in

 its representative capacity, Plaintiff Union is entitled to an award under the civil conversion statute

 not to exceed three times the actual loss, the costs of this action and a reasonable attorneys' fee.

         15.     This Court has jurisdiction of this Count pursuant to 28 U.S.C. §1367.

         WHEREFORE, Plaintiff Union prays that this Court enter Judgment in its favor and order

 that:

         1.      Defendant LEE E. CARMICHAEL pay the delinquent deductions, interest and

 liquidated damages owed to Plaintiff Union for LEE E. CARMICHAEL, pay statutory post-

 judgment interest on all principal deductions as found due by this Order;

         2.      Defendant LEE E. CARMICHAEL pay treble damages for the statutory conversion

 of the total deductions found due by this Order;

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        3.      Defendant LEE E. CARMICHAEL pay Plaintiff Union's attorneys’ fees and costs

 incurred herein; and,

        4.      Such other and further relief that this Court find just and proper be entered against

 Defendant LEE E. CARMICHAEL.

                                       Respectfully submitted,

                                       PAUL T. BERKOWITZ & ASSOCIATES, LTD.

                                       By              /s/ Paul T. Berkowitz
                                                      PLAINTIFFS’ ATTORNEYS




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